Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 1 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 2 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 3 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 4 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 5 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 6 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 7 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 8 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 9 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 10 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 11 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 12 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 13 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 14 of 15
Case 1:03-cv-11206-NMG Document 1 Filed 06/25/03 Page 15 of 15
